                    CRIMINAL DOCKET· U.S. District Court                                                            U.S.                                                                                           Case Filed
                                                                                                                                               (LAST, FIRST, MIDDLE)                                                                               Docket No.                    Def.
A0256                                                         AssillOed                           1--.-1 WRIT                VS.
                                                                                                                                                                                                                Mo. J Day I Yr.
(Rev. 2/861         PO         o 0417 03                          1709                            L-J JUVENILE       f\.               KELLEY. Leslie James                                                     01=-.L:-:.-L
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                    Felony 1111
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                                U.S. TITLE/SECTION                                                                                        OFFENSES CHARGED                                    ORIGINAL COUNTS,

                         ,2.1.:841. &846                                  Conspiraey.to possess with intent to .distribute·and!
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              13 L18: 1952(a) &2                                          Interstate travel in aid o:E"xaGketeering& . aiding ...&
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              -            EARLIEST OF                  ~ oomplaint                               APPLICABLE                  L..J Felony-W/wa..."              ~and         f~ LJ G/P Withdrawn           I         APPLICABLE                   0 Jury 0 N.J.

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                                              Served                                                                                                                                                            L-J CEEDING IN DISTRICT BELOW
                         Arrest Warrant Issued
                                                  .1 . .                     ,   ...
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•                                                                                                                                                               I
                             COMPLAINT                                                                                                                                                                     ,
                         Date of Arrest                OFFENSE (In Complaint)




                    (;hOW last names and suffix numbers of other defendants on same indictment/information:
                                                                                                                                                                                                                          RULE           000:00
                             AT TO RN E YS                                                                                                                      ~                                            20  21
                                                                                                                                                                                                       ----~-BAIL •
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                                                                                                                                                                                                                                                         RELEASE--


                             ~:;:~;,,::eric Borch.                                                     Ft. Br'                         ~6 t-\S ~ "'" .~
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                                                                                                                                                                                                                                 Release Date
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                       70 days= Jtll, 1:8                                                                                                   Proposed T.D. = July 3, 1989                                                          [.                         1    U    Surety Bnd

              ~     f---------------------....,                                                                                                                                                                                   o Bail Not Made                 U Colleter.
                                      FINE AND RESTITUTION PAYMENTS                                                      1                         I       I   Docket Entries 8egin On Reverse Side                               plte Bond Made             IU        3,d Prty
                                      DATE                     RECEIPT NUMBER                                   C.D. NUMBER                 DATE                 RECEIPT NUMBER                 C.D. NUMBER
                                                                                                                                                                                                                                  L                               U    Other

                                                                                                                                                                                                                                         APPEALS FEE PAYMENTS

                                                   Case 3:89-cr-00003-H Document 2 Filed 01/10/89 Page 1 of 4
                                                                             IL-J                                                      L---.J DF~
                                                                                                                                                                             LETTER CODES

       DATE
                            y,     I         Do,,"" No          I   Dof               MASTER DOCKET . MULTIPLE DEFENDANT CASE   PAGE
                                                                                                                                                    VI EXCLUDABLE DELAY
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      DOCUMENT NO,   ==+    89- 3-02-CR-3                                    L....J   PROCEEDINGS DOCKET FOR SINGLE DEFENDANT
                                                                                                                                                                     Tota!
                                                                                                                                                                     Days
                                                                                                                                                                             able delay per 18
                                                                                                                                                                             USC 3161 (h) iSe<;:tlQns
                                                                                                                                                                             ,n brackets]

                             (OPTIONAl) Sho..... last n;Jmes of defendants
                                                                                                v.   PROCEEDINGS                                                             A Exam or hearing
                                                                                                                                                                              lor mental/physi
                                                                                                                                                                              cal 'Incapilcity
  1-10-89              1.     INDICTMENT FILED - cys. to U.S. Atty, Divisional Office, Probat on


                                                                                                                                                                              '''fI
                                                                                                                                                                              (18 USC 4244)


                             Request for warrant to be issued by the U.S. Attorney
                       2.   ISSUED WARRANT FOR ARREST - original and one copy to U.S. Marsha
                                   for service( copy to U.S. Atty.)
                            FIELD REPORT      Subj. arrested by USMS, N/Ca. on warrant.
  5-9-89                     @ Fayetteville - Mag. Dixon -Taped Proceedings                                                                                                  a    NAAA el(am (18
                                                                                                                                                                                 usc2902)[(1) (Bll

                               Deft. advised of rights, charges, and punishment. F.P.D. appt.                                                                                C Stiite/Fed.1 pro
                                                                                                                                                                              ceedlngs on other
                                   Govt. moved for detention. Deft. remanded to custody of                                                                                   o
                                                                                                                                                                              charges 1(1) (OJ)
                                                                                                                                                                                Interlocutoryap
                                   U.S.M., held in Cumberalnd COunty Jail until def't attorney                                                                                peal I (l}(Eli
                                                                                                                                                                             E Pretrial motion
                                   contact Magistrate Dixon to either request or wiave a deten ion                                                                            (from filing to
                                                                                                                                                                              heanng or to other
                                   hearing. Note: Deft. gave the Oakland City Jail, Oakland, C~.                                                                              prompt dispositIon)
                                                                                                                                                                                 111l\FIJ
                                   as his permanent address. He said he had no other permanen                                                                                F Tr",",fel from other
                                                                                                                                                                              dl5trict per FRCrP
                                   address.                                                                                                                                   2021 or 40 or Mag
                                                                                                                                                                              Rule 6a !(1)(Gll

                       3.    ORDER          Deft. having demonstrated eligibility for appointm~nt



                                                                                                                                                                                   •
                                            of counsel at government expense, the Federal Publ c
                                            Defender is directed to provide representation in his
                                            action. It is further ordered that the u.s. Marsha shall
                                            serve any subpoena presented to him in this case                                                                                 G Proceedings under
                                                                                                                                                                              advi!Wlment, not to
                                            by the office of the Federal Public Defender, and                                                                                 exceed 30 days,
                                                                                                                                                                              after all neces·
                                            shall pay the appropraite fees and expenses to                                                                                    sary submissions
                                                                                                                                                                              flied and hearrngs
                                                                                                                                                                              completed I (l )(J) l
                                            witnesses so subpoenaed. Mag. Denson. cys. to                                                                                    H Misc. proceedings:
                                            U.S. Atty., and Federal Public Defender.                                                                                          afllignment, parole/
                                                                                                                                                                              probation, revocation,

                       4.    DETENTION ORDER        Accordingly, as a preliminary matter, the                                                                                 Deportation, extra
                                                                                                                                                                              ditlon [(1)]

                                            court declines to set a hearing on detention in                                                                                  50eferral of prose
                                                                                                                                                                              cution (per 28 USC

                                   this district unless and until the defendant and his                                                                                       2902) IOUC)]
                                                                                                                                                                             6Ttampofliltlon from
                                   attorney affirmatively notice the court that such a hearing                                                                                another d,stflct or
                                                                                                                                                                              to/from examination

                                   is desired. Therefore, the deft. is committed to the                                                                                       Of hOS.Pitalililtl.on
                                                                                                                                                                              In 10 days Of I
                                                                                                                                                                                 [(1)(HII
                                   custody of the Attorney General or his designated represent~tive                                                                          1 ConSIderation

                                   for confinement in a corrections facility separate, to the                                                                                  Court of proposed
                                                                                                                                                                               pleaag-eement [(l)(IIJ

                                   extent practicable, from persons awaiting or serving senten~es                                                                            I Prosecution deferred
                                                                                                                                                                              by mutual agreement
                                                                                                                                                                              [(2Il
                                   or being held in custody pending appeal. Mag. Dixon CR OB                                                                                 M Unavailability of de

                                   # 11, p 79 cys. dist. Cent. 5-22-89) ms                                                                                                    fendant or essential
                                                                                                                                                                              witness! (3)(A.B)]

   5-11-89             5.      ORDER                         PRE-TRIAL SCHEDULING-All pre-tria                                                                               N Peyiod of mental/phy·
                                                                                                                                                                              slcal mtompetence
                                                                                                                                                                              of def. to 5litnd
                                                             motions shall be filed no later                                                                                  trial 1(4)]
                                                                                                                                                                             o
                                                             than June 8,1989. Responses to                                                                                    Pellod 01 NARA
                                                                                                                                                                              commitment/treat·
                                                                                                                                                                              ment ((51]
                                                             motions shall be filed no later                                                                                 PSuperseding Indict

                                                             than June 19, 1989. Untimely mot·ons                                                                             ment and/or new
                                                                                                                                                                              charges I (61]

                                                             and responses may be summarily




  5-12-89              6.
                                                             disregarded. Motions hearings, a~
                                                             necessary, shall be conducted by
                                                             a judge or magistrate of this cou t
                                                             in advance of trial. Mag. Denson,
                                                              cys. dist. (ent.5-22-89 ) ms.
                             MARSHAL'S RETURN ON WARRANT FOR ARREST -This warrant was receiv~d
                                                                                                                                                                                    •
                                                                                                                                                                             A Del. awalt,ng tnal
                                                                                                                                                                              of co·defllndant &:
                                                                                                                                                                              no severance has
                                                                                                                                                                              been granted !(7))
                                                                                                                                                                             T Continuances
                                                                                                                                                                              granted per (hj(8)
                                                                                                                                                                              use "T"' alone If more
                                                                                                                                                                              than one 01 the fol-
                                       and executed with the arrest of the above named deft.                                                                                  lOWing ,easons (Tl
                                                                                                                                                                              thru T4) IS given 111
                                       at Fayetteville, N.C. Clifford Hart, Crim. Inv.       ms                                                                               support of conti
                                                                                                                                                                              uance ((SHA,S)]

  6-7-89              7.    MOTION TO EXTEND TIME TO FILE PRETRIAL MOTIONS - w/cs U.S. Atty 6-7-89                                                              E            T1 Failure to continue
                                                                                                                                                                              would stop further
                                                                                                                                                                              proceedings or
                                   lc Mag. Denson. (ent. 6-7-89) ms                                                                                                           rltSult m miscarriage
                                                                                                                                                                              of Justice 1(8)(8,111)]

   6-8-89             8.    ORDER - The defendants motion for an extension of tiem in which                                                                                  T2 Case unusual or com
                                                                                                                                                                              plex 1l811B,idJ

                                 to file pre-trial motions is granted. All pre-trial moticns


                                                                                                                                                                             '''~
                                 shall be filed no later than ten days fater the deft.
                                 is returned to the Eastern District of North Carolina and
                                 all responses shall be filed within ten days thereafter.                                                                                     itrresl Cjln't be hleo

                                 Mag. Denson, CR OB # 11, p 121 cys. to U.S. Atty, Jddg~2                                                                                     m 30 days lta-llB.ivll
                                                                                                                                                                             T4 Continuance granted

                                 Howard, Federal Public Defender. (ent. 6-8-89) ms                                                                                            to obtain or 5ublti·
                                                                                                                                                                              lute coun",l, or give

 7/27/89                    70 days up 9/14/89 w/excludable time for motions & time out of (istrict                                                                           reasonable tItTle to
                                                                                                                                                                              prepare 118H8,lv))

                                 (5/27/89 - 7/23/89 for senteincing in another district)       bb                                                                            U Tune up to withdraw.1

                                                     Case 3:89-cr-00003-H Document 2 Filed 01/10/89 Page 2 of 4                                                               guilty plea, 31611il
                                                                                                                                                                             W Grand Jury indictment
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    UNITED STATES DISTRICT COURT
    CRIMINAL DOCKET

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        ,,-_.;.A;.;O_25;..6_A,$
                                       ~ U. LESLIE
                                            S. vs
                                                     JAMES KELLEY
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                                                                                                      Jr
                                                                                                           Yr.
                                                                                                                 89-3-02-CR-3
                                                                                                                 J    Docket No.         ~



I   /       DATE
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         7/25/89
                                                          PROCEEDINGS (continued)


                           c. GOVERNMENT"S PROPOSED QUESTIONS OF VOIR DIRE-cs to Mr. Gaoo pnOI1
                                    ~ ~ cy to Judge Howard                                 bb
                                                                                                      V. EXCLUDABLE DELAY
                                                                                                +--:(::.:a)C+_-----.::(b::!.)_----J.~(c~)I-'(~d)




          7/31/89         l(. MOTION TO EXCLUDE TIME UNDER 18 U.S.C. 3161 SPEEDY TRIAL-
                                    by gov't praying for an order excluding the time peripd
                                    beginning withe date of the escape of Acus from feder~l
                                    custody in computing time for speedy trial purposes;
                                    cs to FPD office; cy to Judge Howard
                      "     1. GOVERNMENT"S PROPOSED JURY INSTRUCTIONS; cs to atty; cy to
                                    Judge Howard                                            bb




•
                            12. MOTION TO DISMISS PURSUANT TO TIlE DOUBLE JEOPARDY CLAUS       8-2-89                              E
         8-2-89
                                    OF TIlE FIFTIIE AMENDMENT - w/cs U.S. Atty., lc Judge IOwa d
                            13. MEMORANDUM OF LAW IN SUPPRT OF MOTION TO DISMISS ON TIlE
                                        BASIS OF DOUBLE JEOPARDY CLAUSE OF TIlE FIFTH
                                        AMENDMENT - w/cs U.S. Atty., lc Judge Howard.
                            14'1 MOTION TO TRANSFER - w/cs U.S. Atty., lc Judge Howard                           8-2-89              E
                            15. MEMORANDUM OF LAW IN SUPPORT OF MOTION TO TRANSFER -w/cs
                                i         U.S. Atty., lc Judge Howard
                            16.1 MOTION FOR BILL OF PARTICULARS -w/cs U.S. Atty., lc                             8-2-89          E
                                !         Mag. :MeOot:t:er-:·.i1?4\-:P"Y\                                        t)JJ5-8"1
                                l7.MEMORANDUM OF LAW IN SUPPORT OF MTOION FOR BILL OF PARTIC !LARS
                                   I             w/cs U.S. Atty., lc Mag. MeGettier'~~



•        8/10/89

          8/15/89
                                18.1
                                  RESPONSE TO THE GOVERNMENT"S MOTION TO EXCLUDE TIME
                                   I         by def't; cs to AUSA: cy to Jduge Howard
                            19'1 GOVERNMENT'S RESPONSE TO DEFENDANT"S MOTION FOR A BILL
                                    OF PARTICULARS & attached MEMORANDUM in SUPPORT; cs
                                     to def't; cy to Mag. Denson
                            20. RESPONSE TO MOTION TO TRANSFER (F.R. Crim.P.2l(b)) by
                                                                                           b~
              "
                                     gov't & attached MEMORANDUM OF LAW; cs to def't; cy
                                I    to Judge Howard                                       bb
                  "         21 IRESPONSE TO MOTION TO DISMISS COUNT ONE PURSUANT   TO DOUBI~
                                     JEOPARDY CLAUSE OF FIFTH AMENDMENT by gov't; cs to
                                     def't; cy to Judge Howard                             bib




•         8/25/89




         8/28/89
                             22 ORDER-defendant's motion for a bill of particulars is
                                    DENIED except that it is ALLOWED as to the names of
                                    all persons alleged to be co-conspirators; DENSON,
                                    Alexander B., U. S. Mag.; cc to AUSA; FPD; Judge Howa d
                                    ent. 8/28/89
                             23 ADDENDUM TO RESPONSE TO MOTION TO DISMISS COUNT ONE PURS ANl
                                                                                                  bb

                                    TO DOUBLE JEOPARDY CLAUSE OF THE FIFTH AMENDMENT - by
                                    Govt. w/cs to FPD, cc to Judge Howard                bl
                  "         24.   ORDER-the motion of the defendant to have this case
                                     transferred to the Northern District of California
                                     is denied; Howard, Malcolm J., U. S. Dist. Judge;



,                 "          25
                                     CR OB#12, p. 1; cc to AUSA; FPD: Judge Howard;
                                     ent. 8/28/89
                                  ORDER-the motion of the defendant to dismiss Count One
                                         of the Indictment in the grounds of double jeopar~y
                                          is DENIED; HOWARD, Malcolm J.,U. S. Dist. Judge;
                                          CR OB#12, p. 2; cc to AUSA: FPD: Judge Howard;
                                                                                               bb
                                                                                                  bb




                                         ent. 8/28/89

                                                                                          Interval                Start Date     Ltr. Total
                           Case 3:89-cr-00003-H Document 2 Filed 01/10/89 Page 3 of(per4 Section II)                End Date     Code Davs
UNITED STATES DISTRICT COURT
CRIMINAL DOCKET




                                                                                                                                ,
        AO 256A

      DATE                                         PROCEEDINGS (continued)                          V. EXCLUDABLE DELAY
                                                                                                    lal     (b)     (e)   (dl
1 - - - - - - - - r ( D o ument No.)   ---------------------------+--'--'--t----'--'.:....:..----t-....:.::.:.+-.":..:....
 8/28/89             26.  ORDER-ORDERED that the motion of the government to excluce
                                   the time attributable to the absence of Acus fron
                                   the speedy trial computation in the case of each
                                   defendant is GRANTED. It is further ORDERED
                                   that the time period beginning on July 20, 1989,
                                   the date of Acus's escape, be excluded from the
                                   computation of time for speedy trial in the case
                                   of each defendant. This time period shall contitue
                                   to be excluded until the date that Acus is returted
                                   to custody; HOWARD, Malcolm J., U. S. Dist. JUdgE;
                                   CR OB# 12, p. 3; cc to AUSA: def't atty; Judge

   8/29/89


  12/14/89
                                   Howard; USMS; ent. 8/28/89
                          Sent note to USMS w/cy of above order asking them to
                                 notify us when Acus apprehended so we could set
                                 for trial
                          ISSUED NOTICE of Hearing on Conditions of Release set for
                                       Tuesday, Dec. 19, 1989 at 10:00 a.m., FAyettev~llE,
                                                                                            b


                                                                                               ~b                               •
                                      before Mag. Dixon; cys to USMS; USPO; AUSA:
                                      Mr. Cooke; Joyce Todd; Mag. Dioxn                    ~b
   1-5-<-H)          27. DEFENDANT I S OMlTIBUS MOTION REGARDING CUSTODY - f i1 e d w/ c s -
                                        lc: Judge Howard                                    jp
  5/31/90            28. ORDER FOR DISMISSAL-the USAtty for EDNC hereby dismisses



                                                                                                                                •
                                the Indictment against Leslie James Kelley for the
                                reason that escapee status of government witness rna es
                                conviction unlikely; granted; Judge Howard; CR oB4f1~, I. 141;
                                cc: SAUSA: USPO; USMS: FPD; Mag. Dixon; Judge Howar~
                                ent/ 5/31/90                                             bp




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                                       Case 3:89-cr-00003-H Document 2 Filed 01/10/89    Page
                                                                                         Interval 4 of
                                                                                   (per Section III
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